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IN THE UNITED STATES D:STR:CT COURT F“-ED B"' -'~~'“' D'c'
FOR THE wESTERN DISTRICT OF TENNESSEE

wESTERN DIV:SION UBJUN 30 PH 3' \!8

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UNITED STATES OF AMERICA, &ERK,U.S_. ’Q?"i"TCQURT

WJ~":J i`_,§‘ 'H:P»'¥PH§S

Plaintiff,
vS. Cr. N@. 04-20309-®

ROBERT LORD,

Defendant.

 

ORDER GRANTING DEFENDANT'S MOTION
TO CONTINUE SENTENCING HEARING

 

For good eauee ehown, the Court hereby GRANTS defendant’e
Motion to Continue the Sentencinq Hearing currently Set to be heard

July 18, 2005. The Sentencinq Hearing is hereby RESET for

@OAHQSC\LR_` ‘Pkuc>&\\§.’v \'7 \9~0€>§ 53( \`.30 ~Pm

IT Is so oRDERED, this the 30 day @f L§:Eg 5 , 2005.

JU GE BERNICE B. MDONALD
U ITED STATES DISTRICT COURT

   
 
 

   

UNITED S`ATE 'ST'ilC COURT - WESTERN DISTRCT oFTENNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

